18-13359-shl       Doc 690        Filed 02/28/19       Entered 02/28/19 17:10:09               Main Document
                                                     Pg 1 of 14


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                   )          Chapter 11
REPUBLIC METALS REFINING                                 )
CORPORATION, et al.,1                                    )          Case No. 18-13359 (SHL)
                                                         )
                              Debtors.                   )          (Jointly Administered)

       ORDER (I) SETTING BAR DATE FOR SUBMITTING PROOFS OF CLAIM
          ASSERTED PURSUANT TO 11 U.S.C. § 503(b)(9), (II) APPROVING
      PROCEDURES FOR THE ASSERTION, RESOLUTION, AND SATISFACTION
          OF 503(b)(9) CLAIMS, AND (III) APPROVING NOTICE THEREOF

         Upon the Motion, dated January 31, 2019 (the "Motion") [ECF No. 555]2 of Republic

Metals Refining Corporation, et al., the above-captioned Debtors and Debtors-in-Possession

(collectively the "Debtors"), for entry of an order (a) setting a Bar Date for Submitting Proofs of

Claim asserted pursuant to 11 U.S.C. § 503(b)(9), (b) approving the procedures for submitting

Proofs of Claim asserted under § 503(b)(9) in the chapter 11 cases and the form of the Proof of

503(b)(9) Claim, and (c) approving the form and manner of service of the bar date notice (the

"503(b)(9) Claims Bar Date Notice"), all as more fully described in the Motion; and the Court

having jurisdiction to consider the Motion and the relief requested therein in accordance with 28

U.S.C. §§ 157 and 1334 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the Southern District of New York, dated January 31, 2012; and this



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic
Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and
Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,
Delegación Cuauhtémoc, Mexico DF 6000 (2942).
2
 Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.


48102498;1
18-13359-shl       Doc 690      Filed 02/28/19     Entered 02/28/19 17:10:09        Main Document
                                                 Pg 2 of 14


proceeding being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that notice

of the Motion as set forth therein is sufficient under the circumstances, and that no other or further

notice need be provided; and it further appearing that the relief requested in the Motion is in the

best interests of the Debtors’ estates, creditors, and other parties-in-interest; and upon all of the

proceedings had before the Court; and after due deliberation and cause appearing;

IT IS HEREBY ORDERED THAT:

             1.   The Motion is granted to the extent set forth herein.

             2.   Vendors that assert a 503(b)(9) Claim against the Debtors which arose before

November 2, 2018 for Republic Metals Refining Corporation, Republic Metals Corporation, and

Republic Carbon Company, LLC; and November 21, 2018 for Republic High Tech Metals, LLC,

RMC Diamonds, LLC, J&L Republic, LLC, R&R Metals, LLC, Republic Metals Trading

(Shanghai) Co., Ltd., and Republic Trans Mexico Metals, S.R.L. (the "Petition Dates") shall

submit a written proof of such 503(b)(9) Claim so that it is actually received on or before 5:00

p.m. Eastern Time on April 12, 2019 (the "503(b)(9) Claims Bar Date") by Donlin, Recano &

Company, Inc. (the "Claims and Noticing Agent") in accordance with this 503(b)(9) Bar Date

Order.

             3.   The following Procedures (the "Procedures"), which Procedures are hereby

authorized and approved in their entirety, shall apply to all 503(b)(9) Claims:

             a)     Any Vendor asserting a 503(b)(9) Claim must prepare a proof of
                    claim (a "Proof of 503(b)(9) Claim") that sets forth (i) the value
                    of the Goods the Vendor contends the Debtors received within
                    twenty (20) days before the Commencement Date; (ii)
                    documentation, including invoices, receipts, bills of lading, and
                    the like, identifying the particular Goods for which the claim is
                    being asserted; (iii) documentation regarding which Debtor the
                    Goods were shipped to, the date the Goods were received by
                    such Debtor, and the alleged value of such Goods; and (iv) a
                    statement indicating (I) whether the value of such Goods listed

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48102498;1
18-13359-shl      Doc 690    Filed 02/28/19     Entered 02/28/19 17:10:09        Main Document
                                              Pg 3 of 14


                  in the Proof of 503(b)(9) Claim represents a combination of
                  services and Goods, (II) the percentage of value related to
                  services and related to Goods, and (III) whether the Vendor has
                  filed any other claim against any Debtor regarding the Goods
                  underlying its Proof of 503(b)(9) Claim;

             b)   Each Proof of 503(b)(9) Claim must: (i) be written in English;
                  (ii) include a Claim amount denominated in United States
                  dollars; (iii) conform substantially with the Proof of 503(b)(9)
                  Claim Form provided by the Debtors or Official Form 410; (iv)
                  be signed by the Vendor or by an authorized agent or legal
                  representative of the Vendor; and (v) include supporting
                  documentation unless voluminous, in which case a summary
                  must be attached or an explanation provided as to why
                  documentation is not available;

             c)   Parties who wish to receive proof of receipt of their Proofs of
                  503(b)(9) Claim from the Claims and Noticing Agent must also
                  include with their Proof of 503(b)(9) Claim a copy of their Proof
                  of 503(b)(9) Claim and a self-addressed, stamped envelope;

             d)   The Proof of 503(b)(9) Claim must specify by name and case
                  number the Debtor against which the 503(b)(9) Claim is
                  submitted. A Proof of 503(b)(9) Claim submitted under Case
                  No. 18-13359 or that does not identify a Debtor will be deemed
                  as submitted only against Republic Metals Refining
                  Corporation. A Proof of 503(b)(9) Claim that names a subsidiary
                  Debtor but is submitted under the Case No. 18-13359 will be
                  treated as having been submitted against the subsidiary Debtor
                  with a notation that a discrepancy in the submission exists;

             e)   If the Vendor asserts a Claim against more than one Debtor or
                  has 503(b)(9) Claims against different Debtors, a separate Proof
                  of 503(b)(9) Claim Form must be submitted with respect to each
                  Debtor;

             f)   Each Proof of 503(b)(9) Claim, including supporting
                  documentation, must be submitted so that the 503(b)(9) Claims
                  and Noticing Agent actually receives the Proof of 503(b)(9)
                  Claim on or before the applicable 503(b)(9) Claims Bar Date by
                  either: (i) electronically using the interface available on the
                  Claims        and      Noticing      Agent's     website     at
                  https://www.donlinrecano.com/clients/rmetals/fileclaim or (ii)
                  first-class U.S. Mail, overnight mail, or other hand-delivery
                  system, which Proof of 503(b)(9) Claim must include an original
                  signature, at one of the following addresses:

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18-13359-shl       Doc 690      Filed 02/28/19     Entered 02/28/19 17:10:09       Main Document
                                                 Pg 4 of 14



             If delivered by   Donlin, Recano & Company, Inc.
                        Re: Republic Metals Refining Corporation, et al.
             first-class U.S.
             mail:                      503(b)(9) POC
                                       P.O. Box 199043
                                     Blythebourne Station
                                     Brooklyn, NY 11219
       If delivered by         Donlin, Recano & Company, Inc.
       hand delivery or Re: Republic Metals Refining Corporation, et al.
       overnight mail:                6201 15th Avenue
                                        503(b)(9) POC
                                     Brooklyn, NY 11219
 PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC MAIL WILL
    NOT BE ACCEPTED AND WILL NOT BE DEEMED TIMELY SUBMITTED.

             g)     The Debtors shall have ninety (90) days (or such later date as
                    may be approved by the Court) after the 503(b)(9) Claims Bar
                    Date to file with the Court and serve any objections (the
                    "Objections") to timely filed 503(b)(9) Claims (the "Objection
                    Deadline");

             h)     The Creditors Committee shall have the right to object to the
                    503(b)(9) Claims before the Objection Deadline;

             i)     Vendors shall have until thirty (30) days after the filing of the
                    applicable Objection to file with the Court and serve on Donlin,
                    Recano & Company, Inc., Re: Republic Metals Refining
                    Corporation, et al., P.O. Box 199043, Blythebourne Station,
                    Brooklyn, NY 11219, if mailed by first-class U.S. mail, or
                    Donlin, Recano & Company, Inc., Re: Republic Metals Refining
                    Corporation, et al., 6201 15th Avenue, Brooklyn, NY 11219, if
                    delivered by hand or overnight delivery, with a copy served on
                    (i) the Debtors, c/o Republic Metals Refining Corporation 12900
                    NW 38th Avenue, Miami, FL 33054 (Attn: Scott Avila); (ii)
                    Akerman LLP, 2001 Ross Avenue, Suite 3600, Dallas, TX 75201
                    (Attn: John Mitchell, Esq.) and 98 Southeast Seventh Street,
                    Suite 1100, Miami, FL 33131 (Attn: Andrea S. Hartley, Esq.);
                    and (iii) attorneys for the Creditors Committee, Cooley LLP,
                    1114 Avenue of the Americas, New York, NY 10036 (Attn: Seth
                    Van Aalten, Esq. and Ian Shapiro, Esq.) any replies to such
                    Objections;

             j)     All timely filed 503(b)(9) Claims will be deemed allowed unless
                    objected to by the Debtors on or before the Objection Deadline;

             k)     Notwithstanding and without limiting the foregoing, the Debtors
                    are authorized, but not required, to negotiate, in their sole
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48102498;1
18-13359-shl       Doc 690     Filed 02/28/19     Entered 02/28/19 17:10:09        Main Document
                                                Pg 5 of 14


                    discretion, with any Vendor and to seek an agreement resolving
                    any Objection to such Vendor's 503(b)(9) Claim. The Debtors
                    will report to the Creditors Committee and the United States
                    Trustee regarding all payments made on 503(b)(9) Claims;

             l)     If the Debtors cannot reach an agreement with a Vendor
                    regarding a particular Objection to such Vendor's 503(b)(9)
                    Claim, the Debtors will schedule the matter for a hearing by the
                    Court;

             m)     To the extent a 503(b)(9) Claim is allowed, the 503(b)(9) Claim
                    will be satisfied pursuant to and as set forth in such chapter 11
                    plan as shall be confirmed by the Court, or as otherwise ordered
                    by the Court after notice and an opportunity for a hearing;
                    provided, however, that the Debtors reserve the right to exercise
                    any lawful right of setoff against any 503(b)(9) Claim; and

             n)     Vendors shall be forever barred, without further order of the
                    Court, from asserting a Section 503(b)(9) Claim after the
                    expiration of the 503(b)(9) Claims Bar Date, but shall not be
                    barred from asserting a related or unrelated general unsecured
                    claim.

             4.   The foregoing Procedures are the sole and exclusive method for the assertion,

resolution, allowance, and satisfaction of 503(b)(9) Claims against the Debtors.

             5.   The foregoing Procedures shall be effective as of the Petition Dates.

             6.   All Vendors are prohibited from using any other means for the assertion,

reconciliation, allowance, resolution, or satisfaction of their 503(b)(9) Claims, including, without

limitation, the filing of a motion for allowance, or to compel payment, of any 503(b)(9) Claims.

             7.   To the extent a Vendor asserting a 503(b)(9) Claim has been paid pursuant to

another order entered by the Court in these chapter 11 cases, the Procedures shall not apply and

any such 503(b)(9) Claim asserted by such Vendor shall be deemed withdrawn without the need

for any application to, or further order of, the Court.




                                                   5
48102498;1
18-13359-shl       Doc 690     Filed 02/28/19     Entered 02/28/19 17:10:09          Main Document
                                                Pg 6 of 14


             8.   The 503(b)(9) Bar Date Notice attached hereto as Exhibit A is approved and shall

be deemed adequate and sufficient if served by first-class mail at least 35 days prior to the

503(b)(9) Claims Bar Date on:

             a)     the United States Trustee for the Southern District of New York;

             b)     proposed counsel to the Creditors Committee and any other
                    official committee formed in the chapter 11 cases;

             c)     counsel for Bank Hapoalim B.M. ("Hapoalim"), Mitsubishi
                    International  Corporation  ("Mitsubishi"),  Coöperatieve
                    Rabobank U.A., New York Branch ("Rabobank"), Brown
                    Brothers Harriman & Co. ("BBH"), ICBC Standard Bank Plc
                    ("ICBCS"), Techemet Metal Trading LLC ("Techemet"),
                    Woodforest National Bank ("Woodforest"), Bank Leumi USA
                    ("Leumi") (Leumi, Rabobank, BBH, Hapoalim, Mitsubishi,
                    ICBCS, Techemet, and Woodforest (collectively, the "Senior
                    Lender");

             d)     the Debtors' 30 largest unsecured creditors;

             e)     all known holders of claims listed on the Schedules at the
                    addresses stated therein or as updated pursuant to a request by the
                    creditor or by returned mail from the post office with a
                    forwarding address;

             f)     all counterparties to the Debtors' executory contracts and
                    unexpired leases listed on the Schedules at the addresses stated
                    therein or as updated pursuant to a request by the counterparty or
                    by returned mail from the post office with a forwarding address;

             g)     the attorneys of record to all parties to pending litigation against
                    any of the Debtors (as of the date of the entry of the Proposed
                    Order);

             h)     the United States Attorney's Office for the Southern District of
                    New York;

             i)     the Internal Revenue Service;

             j)     the office of the attorneys general for the states in which the
                    Debtors operate;

             k)     all parties which, to the best of the Debtors' knowledge,
                    information, and belief, had asserted or then may have asserted a
                    claim;
                                                   6
48102498;1
18-13359-shl       Doc 690     Filed 02/28/19     Entered 02/28/19 17:10:09          Main Document
                                                Pg 7 of 14


             l)     all parties that have sent correspondence to the Court and are
                    listed on the Court's electronic docket (as of the date of the entry
                    of the Proposed Order); and

             m)     all parties who have filed a notice of appearance and request for
                    service of papers pursuant to Bankruptcy Rule 2002 (the "Notice
                    Parties").

             12.   Notice of the Motion as provided therein shall be deemed good and sufficient

  notice of such motion and the requirements of the local rules of this Court are satisfied by such

  notice.
             13.   Notwithstanding anything to the contrary, the terms and conditions of this Order

  are immediately effective and enforceable upon its entry.

             14.   Debtors and their Claims and Noticing Agent are authorized and empowered to

  take such steps and perform such acts as may be necessary to implement and effectuate the

  terms of this Order.

             15.   Entry of this 503(b)(9) Bar Date Order is without prejudice to the right of the

  Debtors to seek a further order of this Court fixing a date by which holders of 503(b)(9) Claims

  or interests not subject to the 503(b)(9) Bar Date established herein must submit such Proofs

  of 503(b)(9) Claim or interest or be barred from doing so.




                                                    7
48102498;1
18-13359-shl       Doc 690     Filed 02/28/19     Entered 02/28/19 17:10:09         Main Document
                                                Pg 8 of 14




             16.   The Court retains jurisdiction with respect to all matters arising from or related

  to the implementation of this 503(b)(9) Bar Date Order.

Dated: New York, New York
       February 28, 2019
                                                /s/ Sean H. Lane___
                                                HONORABLE SEAN H. LANE
                                                UNITED STATES BANKRUPTCY JUDGE




                                                   8
48102498;1
18-13359-shl       Doc 690       Filed 02/28/19       Entered 02/28/19 17:10:09               Main Document
                                                    Pg 9 of 14



                                              EXHIBIT A
John E. Mitchell (Admitted Pro Hac Vice)                       Andrea S. Hartley (Admitted Pro Hac Vice)
Yelena Archiyan (Admitted in New York)                         Joanne Gelfand (Admitted in New York)
AKERMAN LLP                                                    Katherine C. Fackler (Admitted Pro Hac Vice)
2001 Ross Avenue, Ste. 3600                                    AKERMAN LLP
Dallas, TX 75201                                               98 Southeast Seventh Street, Ste. 1100
Tel.: (214) 720-4300                                           Miami, FL 33131
Fax: (214) 981-9339                                            Tel.: (305) 374-5600
                                                               Fax: (305) 374-5095
Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
                                                        )
REPUBLIC METALS REFINING                                )
CORPORATION, et al., 1                                  )           Case No. 18-13359 (SHL)
                                                        )
                              Debtors.                  )
                                                        )           (Jointly Administered)

   NOTICE OF DEADLINE REQUIRING SUBMISSION OF PROOFS OF 503(b)(9)
   CLAIM ON OR BEFORE APRIL 12, 2019 AND RELATED PROCEDURES FOR
 SUBMITTING 503(b)(9) CLAIMS IN THE ABOVE-CAPTIONED CHAPTER 11 CASES

TO: ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST ANY DEBTOR
LISTED ON PAGE 2 OF THIS NOTICE IN THE ABOVE-CAPTIONED CHAPTER 11
CASES.

        PLEASE TAKE NOTICE THAT the United States Bankruptcy Court for the Southern
District of New York (the "Court") has entered an order (the "503(b)(9) Claims Bar Date Order")
establishing 5:00 p.m. Eastern Time on April 12, 2019 (the "503(b)(9) Claims Bar Date") as
the last date for Vendors to submit a Proof of 503(b)(9) Claim against any of the Debtors listed
below (collectively, the "Debtors"). A copy of the 503(b)(9) Claims Bar Date Order, and any
exhibits thereto are available (i) at the Debtors' expense upon request to Donlin, Recano &
Company, Inc. (the "Claims and Noticing Agent" retained in the chapter 11 cases) by calling

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).


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18-13359-shl      Doc 690       Filed 02/28/19 Entered 02/28/19 17:10:09       Main Document
                                              Pg 10 of 14


(212) 771-1128, or (ii) for no charge by visiting the Claims and Noticing Agent's website at
https://www.donlinrecano.com/republicmetals, or (iii) for a fee via PACER by visiting
http://ecf.nysb.uscourts.gov.

        The 503(b)(9) Claims Bar Date Order requires that all Vendors holding or wishing to
assert a 503(b)(9) Claim that arose or is deemed to have arisen prior to November 2, 2018 for
Republic Metals Refining Corporation, Republic Metals Corporation, and Republic Carbon
Company, LLC; and November 21, 2018 for Republic High Tech Metals, LLC, RMC
Diamonds, LLC, J&L Republic, LLC, R&R Metals, LLC, Republic Metals Trading (Shanghai)
Co., Ltd., and Republic Trans Mexico Metals, S.R.L. (the "Petition Dates") against the Debtors
to submit a Proof of 503(b)(9) Claim so as to be actually received by Donlin, Recano &
Company, Inc. on or before 5:00 p.m. Eastern Time on April 12, 2019.

 A holder of a possible Claim against the Debtors should consult an attorney
 regarding any matters not covered by this notice, such as whether the holder should
 submit a Proof of 503(b)(9) Claim.

                             DEBTORS IN THE CHAPTER 11 CASES
                                                         Federal Tax
                     Debtor Name                    Identification Number       Case Number
 Republic Metals Refining Corporation                    XX-XXXXXXX               18-13359
 Republic Metals Corporation                             XX-XXXXXXX               18-13360
 Republic Carbon Company, LLC                            XX-XXXXXXX               18-13361
 Republic High Tech Metals, LLC                          XX-XXXXXXX               18-13638
 RMC Diamonds, LLC                                       XX-XXXXXXX               18-13639
 RMC2, LLC                                               XX-XXXXXXX               18-13641
 J & L Republic LLC                                      XX-XXXXXXX               18-13642
 R & R Metals, LLC                                       XX-XXXXXXX               18-13643
 Republic Trans Mexico Metals, S.R.L.                    XX-XXXXXXX               18-13644
 Republic Metals Trading (Shanghai) Co., Ltd.            XX-XXXXXXX               18-13645

       Section 503(b)(9) Claims. Vendors and suppliers of goods may be entitled to request an
administrative priority Claim under section 503(b)(9) of the Bankruptcy Code to the extent they
delivered, and the Debtor received, goods within the twenty (20) day period prior to the Petition
Dates.

                                          WHAT TO SUBMIT

       The Court has deemed the submission of a Proof of 503(b)(9) Claim as satisfying the
procedural requirements for asserting such a Claim under section 503(b)(9) of the Bankruptcy
Code.

       The Debtors are enclosing a Proof of 503(b)(9) Claim form for use in the cases. You
may utilize the Proof of 503(b)(9) Claim form(s) provided by the Debtors to submit your
503(b)(9) Claim.




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48105578;1
18-13359-shl    Doc 690     Filed 02/28/19 Entered 02/28/19 17:10:09            Main Document
                                          Pg 11 of 14


        Your Proof of 503(b)(9) Claim form must not contain complete social security numbers
or taxpayer identification numbers (only the last four digits), a complete birth date (only the
year), the name of a minor (only the minor's initials) or a financial account number (only the last
four digits of such financial account).

        Additional Proof of 503(b)(9) Claim forms may be obtained by contacting the Debtors'
Claims and Noticing Agent, Donlin, Recano & Company, Inc., by calling (212) 771-1128 and/or
visiting       the      Claims        and      Noticing      Agent's       website       at:
https://www.donlinrecano.com/republicmetals.

       The following procedures for the submission of Proofs of Claim against the Debtors in
the chapter 11 cases shall apply:

                     a) Any Vendor asserting a 503(b)(9) Claim must prepare a
                        proof of claim (a "Proof of 503(b)(9) Claim") that sets
                        forth (i) the value of the Goods the Vendor contends the
                        Debtors received within twenty (20) days before the
                        Commencement Date; (ii) documentation, including
                        invoices, receipts, bills of lading, and the like,
                        identifying the particular Goods for which the claim is
                        being asserted; (iii) documentation regarding which
                        Debtor the Goods were shipped to, the date the Goods
                        were received by such Debtor, and the alleged value of
                        such Goods; and (iv) a statement indicating (I) whether
                        the value of such Goods listed in the Proof of 503(b)(9)
                        Claim represents a combination of services and Goods,
                        (II) the percentage of value related to services and
                        related to Goods, and (III) whether the Vendor has filed
                        any other claim against any Debtor regarding the Goods
                        underlying its Proof of 503(b)(9) Claim;

                     b) Each Proof of 503(b)(9) Claim must: (i) be written in
                        English; (ii) include a 503(b)(9) Claim amount
                        denominated in United States dollars; (iii) conform
                        substantially with the Proof of 503(b)(9) Claim Form
                        provided by the Debtors or Official Form 410; (iv) be
                        signed by the Vendor or by an authorized agent or legal
                        representative of the Vendor; and (v) include
                        supporting documentation unless voluminous, in which
                        case a summary must be attached or an explanation
                        provided as to why documentation is not available;

                     c) Vendors who wish to receive proof of receipt of their
                        Proofs of 503(b)(9) Claim from the Claims and
                        Noticing Agent must also include with their Proof of



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18-13359-shl    Doc 690     Filed 02/28/19 Entered 02/28/19 17:10:09            Main Document
                                          Pg 12 of 14


                         503(b)(9) Claim a copy of their Proof of 503(b)(9)
                         Claim and a self-addressed, stamped envelope;

                     d) Each Proof of 503(b)(9) Claim must specify by name
                        and case number the Debtor against which the
                        503(b)(9) Claim is submitted. A Proof of 503(b)(9)
                        Claim submitted under Case No. 18-13359 or that does
                        not identify a Debtor will be deemed as submitted only
                        against Republic Metals Refining Corporation. A Proof
                        of 503(b)(9) Claim that names a subsidiary Debtor but
                        is submitted under the Case No. 18-13359 will be
                        treated as having been submitted against the subsidiary
                        Debtor with a notation that a discrepancy in the
                        submission exists;

                     e) If the holder asserts a 503(b)(9) Claim against more
                        than one Debtor or has 503(b)(9) Claims against
                        different Debtors, a separate Proof of 503(b)(9) Claim
                        form must be submitted with respect to each Debtor;

                     f) Receipt of Service. Any Vendor wishing to receive
                        acknowledgment that Donlin Recano received its Proof
                        of 503(b)(9) Claim must submit (i) a copy of the Proof
                        of 503(b)(9) Claim Form (in addition to the original
                        Proof of 503(b)(9) Claim Form sent to Donlin Recano)
                        and (ii) a self-addressed, stamped envelope.

                             WHEN AND WHERE TO SUBMIT

        Each Proof of 503(b)(9) Claim, including supporting documentation, must be submitted
so that the 503(b)(9) Claims and Noticing Agent actually receives the Proof of 503(b)(9) Claim
on or before the 503(b)(9) Bar Date by either: (i) electronically using the interface available on
the           Claims           and         Noticing          Agent's           website           at
https://www.donlinrecano.com/clients/rmetals/fileclaim or (ii) first-class U.S. Mail, overnight
mail, or other hand-delivery system, which Proof of 503(b)(9) Claim must include an original
signature, at one of the following addresses:




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48105578;1
18-13359-shl        Doc 690     Filed 02/28/19 Entered 02/28/19 17:10:09         Main Document
                                              Pg 13 of 14




             If delivered by               Donlin, Recano & Company, Inc.
             first-class U.S.       Re: Republic Metals Refining Corporation, et al.
             mail:                                  503(b)(9) POC
                                                   P.O. Box 199043
                                                 Blythebourne Station
                                                 Brooklyn, NY 11219
             If delivered by               Donlin, Recano & Company, Inc.
             hand delivery or       Re: Republic Metals Refining Corporation, et al.
             overnight mail:                        503(b)(9) POC
                                                  6201 15th Avenue
                                                 Brooklyn, NY 11219

 PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC MAIL WILL
    NOT BE ACCEPTED AND WILL NOT BE DEEMED TIMELY SUBMITTED.

  THIS NOTICE IS BEING SENT TO MANY PERSONS AND ENTITIES THAT HAVE
  HAD SOME RELATIONSHIP WITH OR HAVE DONE BUSINESS WITH THE
  DEBTORS BUT MAY NOT HAVE AN UNPAID 503(b)(9) CLAIM AGAINST THE
  DEBTORS. THE FACT THAT YOU HAVE RECEIVED THIS NOTICE DOES NOT
  MEAN THAT YOU HAVE A 503(b)(9) CLAIM OR THAT THE DEBTORS OR THIS
  COURT BELIEVE THAT YOU HAVE ANY CLAIM.

                                   RESERVATION OF RIGHTS

        Nothing contained in this notice is intended to or should be construed as a waiver of the
Debtors' right to: (a) dispute, or assert offsets or defenses against, any submitted 503(b)(9) Claim
or any 503(b)(9) Claim listed or reflected in the Debtors' Schedules of Assets and Liabilities
and/or Schedules of Executory Contracts and Unexpired Leases as to the nature, amount, liability
or classification thereof; (b) subsequently designate any scheduled 503(b)(9) Claim as disputed,
contingent or unliquidated; and (c) otherwise amend the Schedules.

                                  ADDITIONAL INFORMATION

        If you have any questions regarding the claims process and/or if you wish to obtain a
copy of the 503(b)(9) Claims Bar Date Order (which contains a more detailed description of the
requirements for submitting proofs of claim), a Proof of 503(b)(9) Claim Form or related
documents, you may do so by visiting the Claims and Noticing Agent's website at
https://www.donlinrecano.com/republicmetals, or contacting the Claims and Noticing Agent by
calling (212) 771-1128 and/or writing to the following addresses: (a) by first-class mail, hand
delivery or overnight mail - Republic Metals Refining Corporation c/o Donlin, Recano &
Company, Inc., 6201 15th Avenue, Brooklyn, New York 11219. Please note that the Claims and
Noticing Agent cannot advise you how to submit, or whether you should submit, a Proof of
503(b)(9) Claim.



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                                       Pg 14 of 14


               CONSEQUENCES OF FAILURE TO SUBMIT A PROOF
                 OF 503(b)(9) CLAIM BY THE 503(b)(9) BAR DATE

       ANY VENDOR WHO IS REQUIRED, BUT FAILS, TO SUBMIT A PROOF OF
503(b)(9) CLAIM IN ACCORDANCE WITH THE 503(b)(9) CLAIMS BAR DATE ORDER
ON OR BEFORE THE APPLICABLE 503(b)(9) CLAIMS BAR DATE SHALL BE FOREVER
BARRED, ESTOPPED AND ENJOINED FROM ASSERTING SUCH 503(b)(9) CLAIM
AGAINST THE DEBTORS (OR SUBMITTING A PROOF OF 503(b)(9) CLAIM WITH
RESPECT THERETO). IN SUCH EVENT, THE DEBTORS' PROPERTY SHALL BE
FOREVER DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR LIABILITY WITH
RESPECT TO SUCH 503(b)(9) CLAIM, AND SUCH HOLDER SHALL NOT BE
PERMITTED TO VOTE TO ACCEPT OR REJECT ANY PLAN OF REORGANIZATION
FILED IN THE CHAPTER 11 CASES OR PARTICIPATE IN ANY DISTRIBUTION ON
ACCOUNT OF SUCH 503(b)(9) CLAIM OR RECEIVE FURTHER NOTICES REGARDING
SUCH 503(b)(9) CLAIM.
Dated: _______________________, 2019

                                             AKERMAN LLP

                                             By: DRAFT
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                                                                   -and-

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